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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                               )
UNITED STATES OF AMERICA,                      )
                                               )
       v.                                      )      Case No. 1:23-CR-000200-TNM
                                               )
RYAN SWOOPE.                                   )
                                               )
                Defendant.                     )
                                               )

                                  NOTICE OF APPEARANCE

To the Clerk of this Court:

      Please enter the appearance of the following co-counsel in this case on behalf of Defendant

Ryan Swoope:

      CATHERINE ADINARO SHUSKY (LCrR 44.1(d))
      Ohio Bar No. 0088731
      Attorney at Law
      Office of the Federal Public Defender,
          Northern District of Ohio
      1660 West 2nd Street, Suite 750
      Cleveland, OH 44113
      Telephone: (216) 522-4856
      Email: cathi_shusky@fd.org

      Undersigned counsel is an employee of the Office of the Federal Public Defender, Northern

District of Ohio, and thus is eligible to appear and practice in this Court pursuant to LCrR 44.1(d).

Undersigned counsel also certifies she is familiar with the Local Rules of this Court and has

submitted her registration within the last three years.

March 6, 2023

                                               Respectfully submitted,

                                               STEPHEN C. NEWMAN
                                               Federal Public Defender
                                               Ohio Bar: 0051928
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                                             /s/ Catherine Adinaro Shusky
                                             CATHERINE ADINARO SHUSKY
                                             Attorney at law
                                             Ohio Bar: 0088731
                                             Office of the Federal Public Defender
                                             1660 West Second Street, Suite 750
                                             Cleveland, OH 44113
                                             (216)522-4856
                                             E-mail: cathi_shusky@fd.org




                                CERTIFICATE OF SERVICE

On this 6th day of March 2023, a copy of the foregoing was served upon all parties listed on the

Electronic Case Filing (ECF) System.
